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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
STEPHEN JACKSON,
                                   Plaintiff,                        19 CIVIL 8574 (GHW)(SLC)

                 -v-                                                      JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated October 16, 2020, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby is,

remanded to the Commissioner of Social Security, pursuant to sentence four of 42 U.S.C. § 405(g),

for further administrative proceedings.


Dated: New York, New York
       October 19, 2020

                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:

                                                                      ~
